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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF COLORADO

Civil Action No. 23-cv-02538-PAB-MEH

UNITED STATES OF AMERICA,

                       Plaintiff,

v.

THE STATE OF COLORADO,

                       Defendant.


       JOINT MOTION TO ADMINISTRATIVELY CLOSE THIS CASE, THUS
      RETAINING JURISDICTION TO ENFORCE SETTLEMENT AGREEMENT



       The United States of America and the State of Colorado, having entered into a Settlement

Agreement (attached as Exhibit A), jointly request that this Court administratively close this case

as set forth in the attached proposed Order, thus retaining jurisdiction to enforce the Settlement

Agreement.

       1.      The United States commenced this action on September 29, 2023. See Complaint

(ECF 1). It asserted a claim under Title II of the Americans with Disabilities Act, alleging that

the State provides services to Coloradans with physical disabilities in a manner causing

unnecessary segregation of individuals living in nursing facilities and placing others at risk of

unnecessary segregation. 42 U.S.C. § 12132; 28 C.F.R. § 35.130(d). The State filed an Answer

to the Complaint on December 1, 2023, denying the allegations (ECF 21). The Court ordered the

parties to mediation beginning February 20, 2024 (ECF 24).
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       2.      On numerous dates between February 20, 2024 and October 29, 2024, the parties

engaged in a Court-supervised mediation before Chief Magistrate Judge Hegarty, which resulted

in the Settlement Agreement attached as Exhibit A.

       3.      The Settlement Agreement specifies relief that will benefit members of a Target

Population of Coloradans with physical disabilities, which is defined in Section III. Substantive

terms of this relief are set forth in Sections V (“In-Reach Counseling and Public Outreach”), VI

(“Community Transitions”), VII (“Diversion, Rapid Reintegration, and Planning for At-Risk

Population Members”), VIII (“Community-Based Services”), and IX (“Quality Assurance and

Performance Improvement”). The Settlement Agreement also describes, in Section X, the

powers and duties of a Monitor to evaluate compliance with the Settlement Agreement’s terms;

and includes additional miscellaneous provisions in Sections XI (“Implementation”), XII

(“Funding”), XIII (“General Provisions”), and XIV (“Construction and Termination”). The

Settlement Agreement’s base term is four years. See Section XIV(C)(1).

       4.      The Settlement Agreement provides that the parties will move this Court,

pursuant to D.C.COLO.LCivR 41.2, to administratively close this case, thus retaining

jurisdiction to enforce the Settlement Agreement, including any subsequent modifications, see

Section XIV(B), and schedule a status conference to be held in two years with permission for the

Parties, by agreement, to submit a joint written status report in lieu of attendance, see Section

XI(F). A proposed Order is attached to this Joint Motion.

       5.      Pursuant to D.C.COLO.LCivR 7.1(a), the parties certify that they have conferred

about, and concur in requesting, the relief described in this Joint Motion.




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       Thus, the United States of America and the State of Colorado respectfully and jointly

request that this Court administratively close this case and retain jurisdiction to enforce the

Settlement Agreement as set forth in the attached proposed Order.

 Respectfully submitted,                           Dated: October 31, 2024

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